996 F.2d 1221w
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that they are not precedent and generally should not be cited unless relevant to establishing the doctrines of res judicata, collateral estoppel, the law of the case, or if the opinion has persuasive value on a material issue and no published opinion would serve as well.Michael R. MCVAY, Appellant,v.Crispus C. NIX;  J. Mercer; John C. Henry, Estate of; JohnR. Emmett;  Robert L. Washington;  Randy Coffman Appellees.
    No. 92-3154.
    United States Court of Appeals,Eighth Circuit.
    Submitted:  April 14, 1993.Filed:  June 28, 1993.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    